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                    Exhibit A
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        National Institutes of Health (NIH)


       National Institutes of Health (NIH) 0                                                       •••
       Apr 21, 2021 · 0

#DYK that when you get vaccinated, you are
protecting yourself, your family, and your
community? That's why NIH's National Institute on
Minority Health and Health Disparities is sharing
trusted information to help everyone get
#VaccineReady for National Minority Health Month.
https: //bit.Iy/3 s Vnj x r

                NATIONAL
                MINORITY
                HEALTH
                MONTH
   #VaccineReady I April 2021



                     National Institute

          '
              NIH    on Minority Health
                     and Health Disparities




   (6 Like                            0 Comment                                            � Share




All comments v


         Brigitte Verbeek
        Close the NPRCs ASAP��� Send all of
        those lovely creatures to sanctuaries
        where they can live a life free of suffering�
         1y         Like            Reply

                                                                                                  • •
 Write a comment...                                                                         GIF   .......
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     National Institutes of Health (NIH)

      Denise Theophilus
      NIH Director Francis Collins it is time                                   "J



      you ended unecessary suffering and
      closed the NPRCs.
      1y   Like          Reply                                                               so
      Kathleen Hogan
      Please close down the inhumane NPRCs
      and use the money for saner research.
      1y   Like          Reply                                                              sOO
      Maurizia Burlando
      basta vi prego vaccini ed esperimenti
      dolorosi sulle scimmie!
      See translation

      1y   Like          Reply


      Helene Lindholm
      Please please close down NPRCs!! They
      are unnnecessary and inhumane
      1y   Like          Reply


      Vanessa Yo Jendes
      Close NPRCs for good NOW!!!!!
      1y   Like          Reply                                                   so
      Gerry Rawlinson
      According to the messaging, apparently
      you don't.

                                                                                             • •
Write a comment...                                                                    GIF    .......
                              Case 1:21-cv-02380-BAH Document 31-2 Filed 05/06/22 Page 4 of 8




                   National Institutes of Health (NIH)


                   Gerry Rawlinson
                   According to the messaging, apparently
                   you don't.
                   1y   Like             Reply

                        Steven Clark
                        Gerry Rawlinson that is a lie. Shame
                        on you
                        1y       Like                 Reply

                        Write a reply...


                   Suja Grg
                   Close down the inhumane NPRSs
                   1y   Like             Reply


                   Larry Carradine
                   Dear NIH Director Collins
                   1y   Like             Reply

,peau de l'Ukra,

                   Nath Veget
                   Please close down the NPRCs
                   1y   Like             Reply


 I   fl I          Dan Timm
                   How are we protecting anyone when the
                   vaccine doesn't prevent transmission?
                   1y   Like             Reply

                                                                                                      • •
     Write a comment...                                                                         GIF   .......
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     National Institutes of Health (NIH)


      Jill Dione
      Please close down the inhumane NPRCs�
      1y   Like            Reply

           Steven Clark
           Jill Dione foolish. shame on you for
           putting people' lives at danger��
           1y      Like                 Reply

           Write a reply...


      Ana Maria Guataipu Torres
       Also we already know that'' Covid'' was a
       decoy to get everyone to take the
     '' vaccine'', which is actually not even a
       vaccine because it does not create
       antibodies nor does it lower the rate of
       transmission . Instead it's killing ppl ,
       causing spontaneous abortions, causing
       thousands of ppl serious aseverar side
       effects and turning ppl into pathogenic
       transmitters ;_:;
      1y   Like            Reply

           Steven Clark
           Ana Maria Guataipu Torres That is all
           a lie. Shame on you. Provide ONE bit
           of evidence to support your lies or go
           away� Shame on you.
           1y      Like                 Reply

                                                                                        • •
Write a comment...                                                                GIF   .......
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     National Institutes of Health (NIH)
      t1a11.:,11 11.:,.:,1u11. 111.::>tcau it.:> l'\.111111� 1--'I--'',
      causing spontaneous abortions, causing
      thousands of ppl serious aseverar side
      effects and turning ppl into pathogenic
      transmitters :;_:.
      1y      Like             Reply

             Steven Clark
             Ana Maria Guataipu Torres That is all
             a lie. Shame on you. Provide ONE bit
             of evidence to support your lies or go
             away� Shame on you.
             1y        Like                 Reply

                     Ana Maria Guataipu Torres
                     Steven Clark it's called research .
                     When u do it you'I I find it too. No
                     need to shame ppl for having a
                     different view that's ridiculous
                     and stifles any progress of actual
                     conversation.
                      1y             Like                 Reply

                      Write a reply...

      �t     Bryan Rice
             Another government hoax
             1y         Like                Reply                            4        0a
              Write a reply...



                                                                                                 • •
Write a comment...                                                                         GIF   .......
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      Elaine Matthys



      1y   Like            Reply                    3 a          0
           Steven Clark
           Elaine Matthys get smart�
           1y      Like                 Reply

           Write a reply...


      Shane Shipman
      Under an EUA, FDA may allow
      the use of unapproved medical products,
      or unapproved uses of
      approved medical products in an
      emergency to diagnose, treat, or
      prevent serious or life-threatening ... See
      more

      AAPSONLINE.ORG
      A Guide to Home-Based COVID
      Treatment

      1y   Like            Reply


      Kate Smith
      Close down the inhumane NPRCS                                                     &
      1y   Like            Reply                                                        so
      Judith Kerr
      olease stoo useless exoeriments.
                                                                                         • •
Write a comment ...                                                               GIF    .......
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     National Institutes of Health (NIH)



      Kate Smith
      Close down the inhumane NPRCS                                                     &
      1y   Like            Reply                                                        so
      Judith Kerr
      please stop useless experiments,
      1y   Like            Reply


      Ana Maria Guataipu Torres
      Close down the inhumano NPRCs and use
      the money for human relevant research .
      1y   Like            Reply                                                        sOO
      Olga Ros
      Please, close down the inhumane NPRCs.
      1y   Like            Reply                                                         so
           Steven Clark
           Olga Ros foolish. provide evidence or
           go away��
           1y      Like                 Reply

           Write a reply...


      Brittany Rosas
      Close down the inhumane NPRCs�
      1y   Like            Reply                                                  so
                                                                                         • •
Write a comment...                                                                GIF    .......
